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 1
     STEPHEN M. LOBBIN
     sml@smlavvocati.com
 2   SML AVVOCATI P.C.
 3
     888 Prospect Street, Suite 200
     San Diego, California 92037
 4   (949) 636-1391 (Phone)
 5
     Attorney(s) for Digital Verification Systems, LLC
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 7
                     IN THE UNITED STATES DISTRICT COURT
 8                 FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 9
     DIGITAL VERIFICATION            §
10   SYSTEMS, LLC,                   §
                                     §
11
          Plaintiff,                 §            Case No: 3:21-cv-01420-BAS-DEB
12                                   §
     vs.                             §            PATENT CASE
13
                                     §
14   CLIENTPOINT, INC.,              §            JOINT STIPULATION OF
                                     §            DISMISSAL
15
          Defendant.                 §
16   ________________________________§
17         Plaintiff Digital Verification Systems, LLC, and Defendant ClientPoint, Inc., by
18   their respective undersigned counsel, hereby STIPULATE and AGREE as follows:
19         1.     All claims asserted by the Plaintiff in this Action are dismissed with
20   prejudice and all counter-claims asserted by the Defendant in this Action are dismissed
21   without prejudice under Fed. R. Civ. P. 41(a)(1)(A)(ii);
22         2.     Each party shall bear its own costs and attorneys’ fees with respect to the
23   matters dismissed hereby;
24         This Stipulation and Order shall finally resolve the Action between the parties.
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                                 JOINT STIPULATION OF DISMISSAL
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 1   Dated: November 30, 2021             Respectfully submitted,
 2
                                          /s/Stephen M. Lobbin
 3                                        Stephen M. Lobbin
 4
                                          sml@smlavvocati.com
                                          SML AVVOCATI P.C.
 5                                        888 Prospect Street, Suite 200
 6                                        San Diego, California 92037
                                          (949) 636-1391 (Phone)
 7

 8                                        Attorney(s) for Plaintiff

 9                                        /s/Rodeen Talebi
10                                        Rodeen Talebi (CA SBN 320392)
                                          FISH & RICHARDSON P.C.
11                                        633 West Fifth Street, 26th Floor
12                                        Los Angeles, CA 90071
                                          Telephone: (213) 533-4240
13                                        Facsimile: (858) 678-5099
14                                        Email: talebi@fr.com
15                                        Neil J. McNabnay (pro hac vice forthcoming)
16                                        Ricardo J. Bonilla (pro hac vice forthcoming)
                                          Collin Marshall (pro hac vice forthcoming)
17                                        FISH & RICHARDSON P.C.
18                                        1717 Main Street, Suite 5000
                                          Dallas, TX 75201
19
                                          Telephone: (214) 747-5070
20                                        Facsimile: (214) 747-2091
                                          mcnabnay@fr.com
21
                                          rbonilla@fr.com
22                                        marshall@fr.com
23
                                          Attorney(s) for Defendant
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                                JOINT STIPULATION OF DISMISSAL
